Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 1 of 22



                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
  --------------------------------------------- X
                                                :
  HANK HANEY and                                :
  HANK HANEY MEDIA, LLC,                        :  Case No. _________________
                                                :
                                Plaintiffs,     :
                                                :
                    -against-                   :  COMPLAINT
                                                :
  PGA TOUR, INC.,                               :  JURY TRIAL DEMANDED
                                                :
                                Defendant.      :
  --------------------------------------------- X

         Plaintiffs Hank Haney (“Haney”) and Hank Haney Media, LLC (“HHM”) (collectively,

  the “Plaintiffs”), by their attorneys, Rice Pugatch Robinson Storfer & Cohen PLLC and Sullivan

  & Worcester LLP, for their Complaint against Defendant PGA TOUR, Inc. (the “PGA TOUR” or

  “Defendant”), state as follows:

                                    NATURE OF THE ACTION

         1.      Plaintiffs seek damages for the harm the PGA TOUR caused when it improperly

  intimidated, enticed and threatened Sirius XM Radio, Inc. (“Sirius XM”) to suspend and ultimately

  terminate Haney’s radio broadcast on Sirius XM’s PGA Tour Radio station. Sirius XM had a

  binding contract with Plaintiffs for Haney to conduct golf radio broadcasts. The PGA TOUR was

  not a party to the Sirius XM – Haney Agreement.

         2.      Following an incident during one of Haney’s broadcasts for which Haney

  immediately publicly apologized, Sirius XM accepted Haney’s apology for the remarks and agreed

  that there would be minimal, if any, consequences.

         3.      Nonetheless, the PGA TOUR seized upon long-standing animus towards Haney

  from its desire to settle an old score relating to the professional golfer Tiger Woods, meddled in
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 2 of 22



  Plaintiffs’ business relationship with Sirius XM and demanded that Sirius XM severely punish and

  ultimately terminate Plaintiffs. This third-party interference led directly to the termination of

  Sirius XM’s contract with Plaintiffs.

                                            THE PARTIES

           4.    Plaintiff Hank Haney is an individual and citizen of the State of Texas.

           5.    Plaintiff Hank Haney Media, LLC is a Texas limited liability company. The sole

  member of Hank Haney Media, LLC is an individual and citizen of the State of Texas.

           6.    Defendant PGA TOUR, Inc. is a Maryland corporation with its principal place of

  business at 112 PGA Tour Boulevard, Ponte Vedra Beach, Florida 32082.

                                   JURISDICTION AND VENUE

           6.    This Court has subject matter jurisdiction over Plaintiffs’ claims pursuant to

  28 U.S.C. § 1332(a)(1) because Plaintiffs are citizens of Texas and Defendant is a citizen of

  Maryland and Florida, and the amount in controversy exceeds $75,000, exclusive of interest and

  costs.

           7.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1) because the PGA

  TOUR, an entity that does continuous and systematic business in Florida, including employing

  personnel and hosting events in Palm Beach Gardens and Miami, is subject to the Court’s personal

  jurisdiction and is a resident of this District pursuant to 28 U.S.C. § 1391(c)(2) and (d).

                                    FACTUAL BACKGROUND

  Plaintiffs’ Contract with Sirius XM

           8.    Following several years of good relations in which Haney served as the host of

  “Hank Haney Golf Radio,” a sports radio program covering news and topics in the world of golf,

  on or about November 30, 2017, Sirius XM and HHM entered into a new letter agreement,




                                                    2
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 3 of 22



  personally guaranteed by Haney, for Haney to continue to host his program (the “Letter

  Agreement”). The Letter Agreement was amended and restated by a separate letter agreement

  dated December 21, 2017 (the “Second Letter Agreement”) and again later amended by a first

  amendment thereto, effective as of October 1, 2018 (the “First Amendment,” collectively with the

  Letter Agreement and Second Letter Agreement, the “Agreement”), although neither the First

  Amendment nor Second Amendment changed material terms of the Letter Agreement. A true

  copy of the Letter Agreement is attached hereto as Exhibit A.

         9.     The Letter Agreement was to continue until February 15, 2021.

         10.    Per Section 4 of the Agreement, in exchange for Haney performing a minimum of

  235 radio programs per year, Sirius XM agreed to compensate HHM the sum of $250,000.00 per

  year, plus a percentage of the advertising revenue generated by the program.

         11.    Section 4(b) of the Agreement gave Sirius XM the exclusive right, in its sole

  discretion, to use, sell and/or dispose of the commercial sponsorship and advertising time during

  the radio broadcasts, provided that HHM had the right to one (1) sixty second (:60) promotional

  spot in each hour of the broadcasts, solely to promote Haney’s website and products. Based upon

  the net advertising revenue derived each year from sales of advertising space deemed directly

  attributable to the sales assistance of HHM, whether or not occurring during the Haney radio

  broadcasts or at some other time, HHM was entitled to:

                receive the following percentages of Net Advertising Revenue (as defined
                below) each year of the Term derived from sales to an entity on the Partners
                List that are directly attributable to the sales assistance of the company: (A)
                seventy-five percent (75%) of Net Advertising Revenue for sales of
                Commercial Time, which share percentage shall be reduced to fifty percent
                (50%) in any year when Company has earned $300,000 of such revenue;
                and (B) fifty percent (50%) of Net Advertising Revenue for sales of
                commercial time outside of the Programming, which share percentage shall
                be reduced to twenty-five percent (25%) on a per entity (from the Partners
                List) basis in any year when gross sales to such entity exceed $300,000 of



                                                  3
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 4 of 22



                 commercial time outside of the Programming. Additionally, Company shall
                 receive fifty percent (50%) of the Net Advertising Revenue derived from
                 any Sirius XM sales of Commercial Time each year to an entity that is not
                 on the Partners List (all Net Advertising Revenue received by Company in
                 accordance with Section 4(b) shall be referred to collectively as, the
                 “Company Advertising Revenue”). “Net Advertising Revenue” shall mean
                 gross revenue (determined in accordance with United States generally
                 accepted accounting principles, as in effect from time to time) recognized
                 from Sirius XM’s sales of Commercial Time and commercial time outside
                 of the Programming (as applicable), less: (y) a deduction for commissions
                 and sales costs equal to fifteen percent (15%) of such revenue; and (z) an
                 allowance for doubtful accounts equal to two percent (2%) of such
                 revenue….

         12.     For the year ended December 31, 2018, HHM earned $463,931.30 from Net

  Advertising Revenue pursuant to Section 4(b) of the Agreement.

         13.     The rising success of the show led to significantly improved Net Advertising

  Revenue in the first part of 2019.

         14.     For the four months ended April 30, 2019, HHM earned $364,141.96 from Net

  Advertising Revenue pursuant to Section 4(b) of the Agreement.

         15.     The Parties to the Agreement reasonably expected revenues earned under the

  Agreement to continue to rise through the remainder of 2019, 2020 and 2021.

  The Events of May 29, 2019

         16.     On May 29, 2019, during a regularly scheduled program, Haney and co-host Steve

  Johnson (“Johnson”) discussed the U.S. Women’s Open, scheduled to begin the next day.

         17.     Johnson stated: “This week is the 74th U.S. Women’s Open, Hank.”

         18.     Haney replied: “Oh it is? I’m gonna predict a Korean.”

         19.     South Korean women accounted for 11 of the 16 individuals who placed or tied for

  first, second or third in the U.S. Women’s Open competitions of 2015, 2016, 2017 and 2018,

  including first place in 2015 and 2017, and sweeping the top three spots in 2017.




                                                  4
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 5 of 22



            20.   Johnson acknowledged: “OK, that’s a pretty safe bet.”

            21.   Haney responded: “I couldn’t name you six players on the LPGA Tour. Maybe I

  could. Well . . . I’d go with Lee. If I didn’t have to name a first name, I’d get a bunch of them

  right.”

            22.   Johnson stated, “We’ve got six Lees.”

            23.   In fact, six women with the surname “Lee” were competing in the tournament. For

  the week of May 27, 2019, four of those six golfers with the surname Lee were ranked in the top

  100 of the 1339 women professional golfers worldwide: second (Minjee Lee), seventeenth

  (Jeongeun Lee), thirty-fourth (Mi Hyang Lee) and eighty fourth (Mirim Lee).

            24.   In the context of the discussion and given Haney’s admitted lack of detailed

  knowledge about women’s golf, he chose the surname that was most likely to be the name of the

  winner. His prediction was correct: the winner was Jeongeun Lee of South Korea. His statements

  were not intended to be disrespectful or ethnically insensitive in any manner.

            25.   While still on the air, Haney learned that certain people on the internet, and

  especially twitter, had been offended by the remark.

            26.   Haney immediately apologized on air for his comments.

            27.   That same day, after the program concluded, Haney issued a formal written apology

  and said that he regretted saying anything that was considered insensitive. The formal apology

  read:

                  This morning I made some comments about women’s professional golf and
                  its players that were insensitive and that I regret. In an effort to make a
                  point about the overwhelming success of Korean players on the tour I
                  offended people and I am sorry. I have the highest respect for the women
                  who have worked so hard to reach the pinnacle of their sport and I never
                  meant to take away from their abilities and accomplishments. I’ve worked
                  in this game with men and women players from many different cultures and
                  I look forward to continuing to do so.



                                                   5
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 6 of 22



          28.    Sirius XM’s PGA Tour Radio Program Director, Jeremy Davis, sent an e-mail the

  day of the broadcast, at 2:02 p.m., to all of the Sirius XM PGA Tour Radio talent and producers,

  business managers of all talent, Sirius XM programming executives including the VP of Sports,

  Steve Cohen, and the President, Scott Greenstein. The e-mail had a subject line of “Hank’s

  Comments Today,” and read:

                 Hello All,

                 Obviously this has gotten a lot of attention today, but this is not a PGA
                 TOUR Radio story that we need to cover. There is no benefit to discussing
                 this on our air so we should avoid it. Listeners are likely to bring it up on
                 phone calls so we may need to address it there, but we should not be having
                 any guests on, or any discussions on this as it is not a golf story. Hank made
                 a comment that some people found offensive, he apologized, end of story.
                 Any questions just ask.

  A true copy of this e-mail is attached hereto as Exhibit B.

  PGA TOUR’s Past Interference with Haney’s Business

          29.    The PGA TOUR has long attempted to disrupt and interfere in Haney’s business.

  This interference began in 2012 when Haney released his book, The Big Miss, which in part

  discussed Haney’s time as Tiger Woods (“Woods”)’ swing coach from 2004 through 2010.

          30.    Woods’ success has driven the economic engine of the PGA TOUR since 1997. As

  such, the PGA TOUR systematically accommodates his requests and expectations through the

  tailoring of policies such as scheduling, sponsor obligations and tournament operating rights to his

  benefit.

          31.    Because the PGA TOUR potentially is financially damaged by negative press about

  Woods, it worked to discredit Haney and his book release in 2012 to protect its own financial

  interests.




                                                   6
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 7 of 22



         32.    At the time of the release in 2012, as the substantive content of the book became

  public through previews, the PGA TOUR induced both “PGA Tour Superstores” and “PGA Tour

  Shops” to cancel previously placed orders of The Big Miss. Upon information and belief, the PGA

  TOUR further induced smaller shops to back out of their preorders for the book.

         33.    In 2013, again under pressure from the PGA TOUR, the Golf Channel discontinued

  the very successful “Haney Project” show – one of the highest rated programs on the network at

  the time.

         34.    The PGA TOUR yet again exerted influence in 2016 to have Avis cancel another

  program with Haney.

         35.    An Avis representative with knowledge told Haney that the PGA TOUR was not

  supportive of Avis working with Haney and that this lack of support from the golf behemoth led

  to the cancellation of the 2016 program.

         36.    Upon information and belief, the PGA TOUR has been working to ingratiate itself

  with the LPGA. This sought-after partnership in part is so the PGA TOUR can continue to

  monopolize all of professional golf. As such, the PGA TOUR has the motive to attack anyone it

  perceives is damaging the LPGA brand.

  PGA TOUR’s Attack on Haney

         37.    Despite Sirius XM’s internal determination that no punitive measures were

  necessary or appropriate, the PGA TOUR seized on this latest opportunity to punish Haney based

  on Haney’s remarks and certain initial negative media reports and almost immediately “instructed”

  Sirius XM to suspend Haney from his radio broadcasts.




                                                 7
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 8 of 22



         38.       Because the PGA TOUR has numerous business connections with Sirius XM, and

  can cause severe harm to Sirius XM’s golf radio programming, it can and did exert unusually

  strong pressure on Sirius XM.

         39.       The PGA TOUR and Sirius XM issued a joint statement the next day, May 30,

  2019, reading:

                   Joint PGA TOUR/SiriusXM Statement on Hank Haney

                   NEW YORK – May 30, 2019 – Mr. Haney’s comments on women’s
                   professional golf were insensitive and do not represent the views of the PGA
                   TOUR or Sirius XM. The PGA TOUR is committed to and proud of the
                   increasingly diverse makeup of our fan base, not to mention the power and
                   accomplishments of the game’s world-class, global players – both on the
                   PGA TOUR and LPGA, whom we are working with more closely than ever
                   before. SiriusXM proudly covers and supports both women’s and men’s
                   golf and the athletes that make them great. At the PGA TOUR’s
                   instruction Mr. Haney has been suspended from the SiriusXM PGA TOUR
                   Radio channel. SiriusXM is reviewing his status on SiriusXM going
                   forward.

                   Mr. Haney added, “I accept my suspension and apologize again.”

  (Emphasis added.)

         40.       After its “instruction” that Sirius XM suspend Haney, the PGA TOUR’s vendetta

  against Haney continued and, in the early summer of 2019, the PGA TOUR pressured Sirius XM

  to terminate the Agreement and Plaintiffs’ business relationship with Sirius XM.

         41.       As a result, Plaintiffs’ financial position suffered, and continue to suffer to this day,

  and Haney’s reputation has been permanently damaged.

         42.       Callaway Golf Company (“Callaway”), one of Haney’s largest collaborators,

  declined to renew its collaboration agreement with Haney when it expired in December 2019.

         43.       Callaway made clear through discussions with Plaintiffs that it felt compelled to

  decline a renewal because of the loss of Haney’s position broadcasting with Sirius XM. Had



                                                      8
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 9 of 22



  Haney been allowed to complete the term of the Agreement, Callaway would have renewed its

  collaboration agreement with Haney.

          44.     PGA TOUR’s actions have cost Plaintiffs advertising revenues that would have

  amounted to millions of dollars over the life of the Agreement in addition to sales of Haney’s

  individually marketed merchandise that markedly decreased as a result of the PGA TOUR’s

  interference with the Agreement and the PGA TOUR-fueled attack on Haney’s reputation.

                                   FIRST CLAIM FOR RELIEF
                                (Tortious Interference with Contract)

          45.     Plaintiffs repeat and re-allege the allegations of Paragraphs 1 through 44 as if fully

  set forth herein.

          46.     The Agreement constitutes a valid, binding contract between Plaintiffs and third-

  party Sirius XM to provide regular radio broadcast programming.

          47.     The PGA TOUR had knowledge of the Agreement.

          48.     The PGA TOUR intentionally and unjustifiably interfered with Plaintiffs’ rights

  under the contract by inducing Sirius XM’s termination of the Agreement.

          49.     Plaintiffs have suffered significant damages reasonably believed to be millions of

  dollars in lost advertising revenue and lost merchandise sales as a result of the improper

  interference with and resulting termination of the Agreement and the improper attacks on Haney’s

  reputation.

                                 SECOND CLAIM FOR RELIEF
                          (Tortious Interference with Business Relations)

          50.     Plaintiffs repeat and re-allege the allegations of Paragraphs 1 through 49 as if fully

  set forth herein.




                                                    9
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 10 of 22



           51.    Plaintiffs and third-party Sirius XM had a business relationship whereby Plaintiffs

  provided regular radio broadcast programming in exchange for compensation.

           52.    The PGA TOUR had knowledge of the relationship as well as the business

  relationships alleged above.

           53.    The PGA TOUR intentionally and unjustifiably interfered with these business

  relationships by instructing Sirius XM to suspend and ultimately terminate Haney.

           54.    The PGA TOUR engaged in this conduct in order to inflict intentional harm on

  Plaintiffs.

           55.    The PGA TOUR’s improper actions caused significant harm to Plaintiffs’

  relationship with Sirius XM and the other businesses alleged above. This harm is reasonably

  believed to have cost Plaintiffs millions of dollars in lost advertising revenue and lost merchandise

  sales.

                                       PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs demand judgment against Defendant as follows:

           (a)    Compensatory damages in an amount to be proven at trial;

           (b)    Punitive damages for the PGA TOUR’s intentional tortious conduct;

           (c)    Costs; and

           (b)    Such other relief as this Court may determine as fair and just.

                                           JURY DEMAND

           Plaintiffs demand a trial by jury of all issues pursuant to Rule 38 of the Federal Rules of

  Civil Procedure.




                                                   10
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 11 of 22



   Dated:   Fort Lauderdale, Florida     Respectfully submitted,
            December 18, 2019
                                         RICE PUGATCH ROBINSON STORFER &
                                         COHEN, PLLC
                                         By: /s/ Arthur Halsey Rice______
                                             Arthur Halsey Rice
                                             Florida Bar No. 224723
                                              Riley W. Cirulnick
                                              Florida Bar No. 0333270
                                         101 NE 3rd Ave., Suite 1800
                                         Fort Lauderdale, Florida 33301
                                         Telephone: (954) 462-8000
                                         Facsimile: (954) 462-4300
                                         arice@rprslaw.com
                                         rcirulnick@rprslaw.com


                                         SULLIVAN & WORCESTER LLP

                                         By: /s/ Peter R. Ginsberg_______
                                              Peter R. Ginsberg (pro hac vice pending)
                                         1633 Broadway, 32nd Floor
                                         New York, New York 10019
                                         Telephone: (212) 660-3000
                                         Facsimile: (212) 660-3001
                                         prginsberg@sullivanlaw.com

                                         Attorneys for Plaintiffs




                                       11
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 12 of 22
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 13 of 22
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 14 of 22
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 15 of 22
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 16 of 22
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 17 of 22
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 18 of 22
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 19 of 22
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 20 of 22
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 21 of 22
Case 0:19-cv-63108-RAR Document 1 Entered on FLSD Docket 12/18/2019 Page 22 of 22
